
GRIFFIN, Circuit Judge,
dissenting.
The majority remands the case to the district court on the grounds that issues of state law never raised by the parties “could” provide an alternative basis for deciding this case. In doing so, the majority misapplies the constitutional avoidance doctrine, directs the district court to address issues more appropriately left to the Michigan courts, and unjustifiably departs from our well-established principles of appellate review that generally bar this court from deciding issues that are not argued, preserved, or ruled upon by the lower court or tribunal. In my view, only the federal constitutional issues raised by the parties are properly before us. Addressing those issues, I would affirm the district court’s judgment because it did not abuse its discretion when it denied the Retired Employees’ request for injunctive relief. In addition, I would grant the Michigan Attorney General’s motion to intervene. Accordingly, I respectfully dissent.
I.
In enacting 2011 PA 4, the Michigan Legislature recognized that “the health, safety, and welfare of the citizens of this state would be materially and adversely affected by the insolvency of local governments” and “the fiscal accountability of local governments is vitally necessary ... to assure the provision of necessary governmental services essential to public health, safety, and welfare.” Mich. Comp. Laws § 141.1503. The law permitted the “state to take action and to assist a local government in a condition of financial stress or financial emergency ... by requiring prudent fiscal management and efficient provision of services, permitting the restructuring of contractual obligations, and prescribing the powers and duties of state and local government officials and emergency managers.” Id. It authorized emergency managers (“EMs”) to temporarily reject, modify, or terminate existing collective bargaining agreements (“CBAs”) if certain conditions were met. Id. at § 141.1519(l)(k), (k)(iv). It also allowed them to adopt or amend ordinances. Id. at § 141.1519(l)(dd).
The City of Pontiac has experienced difficult economic times and has been operating under an emergency manager for many years. For the fiscal year ending June 30, 2008, the city budget deficit was $7,007,957; for the fiscal year ending June 30, 2009, the deficit was $5,607,638; and for the fiscal year ending June 30, 2010, the deficit was $4,089,199. For the fiscal year ending June 30, 2011, the budget indicates that there was a surplus of $554,732, but apparently only because the City of Pontiac failed to make certain contributions in excess of $11 million. For the fiscal year ending June 30, 2012, the budget projects a deficit of $8,376,527. For the fiscal year ending June 30, 2013, the budget projects that expenses will exceed revenue by $5,903,485.
For the fiscal year ending June 30, 2013, although a budget surplus is expected from the sale of a wastewater treatment facility, which is to be transferred to Oakland County, the EM believes that declin1 ing property taxes and unfunded liabilities continue to create a structural deficit in the city budget. The City of Pontiac’s unfunded liability to the General Employees Healthcare System is over $221 million, and its unfunded liability to the Police and Fire System is over $81 million. At present, retiree healthcare is the City of Pontiac’s largest expense. For the fiscal year ending June 30, 2013, it will spend $13.5 million on medical and dental insurance-coverage, of which only $1.2 million is for current employees.
*780Over the years, the City of Pontiac has negotiated numerous CBAs under which it has contracted to provide health insurance coverage for certain municipal retirees. In addition, with regard to non-union retirees, Chapter 92 established a plan and trust “to provide health care and life insurance benefits ... for the welfare of certain retirees of the city who are eligible to receive a retirement benefit ... and the spouses and eligible dependents of such retirees through a prefunded group health and insurance benefits plan.” The City of Pontiac has also promised certain health insurance benefits by virtue of separation agreements and past practice.
At issue in this case are the EM’s actions, made pursuant to PA 4, to address the City of Pontiac’s financial troubles. In a series of orders issued in December 2011, the EM modified CBAs and other agreements in such a way that shifted the cost of prescriptions and insurance co-payments onto retirees. The EM also repealed Chapter 92.
The Retired Employees filed a class action in federal court, asserting the following federal claims: (1) impairment of contract under the federal constitution; (2) federal preemption in the area of municipal debt reduction; and (3) deprivation of a property interest without due process of law. On these grounds, among others, the Retired Employees asked the district court to enjoin the City of Pontiac from implementing proposed changes to their healthcare benefits and to reinstate their coverage to previous levels.
The district court denied the Retired Employees’ request for injunctive relief, and this appeal followed. The issues presented in this case and controversy are limited to whether the Retired Employees are entitled to injunctive relief based on an unconstitutional impairment of contract, preemption under federal bankruptcy law, or deprivation of a property interest without due process of law.
II.
Rather than address the issues ruled on below and raised by the parties on appeal, the majority contrives “potentially disposi-tive” state-law grounds for resolving this case, under the guise of “constitutional avoidance.” Specifically, the majority questions whether PA 4 was properly given immediate effect and whether the EM’s past actions remain valid in light of the voters’ rejection by referendum. Having raised these issues sua sponte, the majority directs the district court to address them on remand.
In doing so, the majority misunderstands and misapplies the constitutional avoidance doctrine. As explained in Ashwander v. Tenn. Valley Auth., 297 U.S. 288, 346, 56 S.Ct. 466, 80 L.Ed. 688 (1936) (Brandéis, J., concurring), “[t]he Court developed ... a deries of rules under which it has avoided passing upon a large part of all the constitutional questions pressed upon it for decision.” Among them is the rule against “anticipating] a question of constitutional law in advance of the necessity of deciding it.” Id. (internal quotation marks omitted). “It is not the habit of the court to decide questions of a constitutional nature unless absolutely.necessary to a decision of the case.” Id. (internal quotation marks omitted). This avoidance principle does not apply here, first, because the federal constitutional questions raised in this case are not “anticipated.” Rather, the issues were ruled on below and are properly presented on appeal. We unquestionably have jurisdiction to “adjudge the legal rights of litigants in actual controversies.” Liverpool, N.Y. &amp; P. S.S. Co. v. Comm’rs of Emigration, 113 U.S. 33, 39, 5 S.Ct. 352, 28 L.Ed. 899 (1885).
*781Second, the constitutional avoidance doctrine presumes that a nonconstitutional ground for resolving the ease is properly before the court. Ashwander, 297 U.S. at 347, 56 S.Ct. 466 (Brandéis, J., concurring). “The Court will not pass upon a constitutional question although properly presented by the record, if there is also present some other ground upon which the case may be disposed of.” Id. (emphasis added). The majority asserts that we should not allow the litigants to force us into deciding constitutional questions, apparently believing that courts are responsible for framing the issues. This is not so. “[W]e rely on the parties to frame the issues for decision,” as “[o]ur adversary system is designed around the premise that the parties know what is best for them, and are responsible for advancing the facts and arguments entitling them to relief.” Greenlaw v. United States, 554 U.S. 237, 243, 244, 128 S.Ct. 2559, 171 L.Ed.2d 399 (2008) (internal quotations marks omitted); accord Carducci v. Regan, 714 F.2d 171, 177 (D.C.Cir.1983) (Sca-lia, J.) (“The premise of our adversarial system is that appellate courts do not sit as self-directed boards of legal inquiry and research, but essentially as arbiters of legal questions presented and argued by the parties before them.”).
In addition, we should not avoid a constitutional question when its resolution is necessary to dispose of the case. Ashwan-der, 297 U.S. at 347, 56 S.Ct. 466 (Bran-déis, J., concurring). Here, the majority concedes that the state issues are merely “potentially dispositive.” Although offering an opinion on their resolution, the majority admits that the case cannot be decided on the basis of state law “because the parties have failed to develop these issues sufficiently for our review.” Indeed, the parties have failed to argue or develop them at all.
Just as the majority is incapable of deciding the case on state-law grounds, there is no reason to' believe that the district court will be able to do so on remand. The Michigan Constitution provides that “the legislature may give immediate effect to acts by a two-thirds vote of the members elected to and serving in each house.” Const.1963, art. 4, § 27. Significantly, whether the House passes an act and whether it gives it immediate effect are two separate votes. For example, the House passed HB 4246 and HB 4929 by less than a two-thirds vote, yet two-thirds of the House voted orally in favor of their immediate effect. Hammel v. Speaker of House of Representatives (Hammel I), 297 Mich.App. 641, 825 N.W.2d 616, 619 (2012). Thus, the mere fact that the House passed PA 4 short of a two-thirds vote is not reason to doubt the validity of its immediate effect.
In Hammel I, the plaintiffs sought to enjoin the immediate effect of HB 4246 and HB 4929, arguing that the Michigan Constitution required a role call vote on the record, but the Michigan Court of Appeals rejected the argument. The court explained that “[a] general challenge to the governing procedures in the House of Representatives is not appropriate for judicial review.”1 Id. The court also observed that' the House rule allowing mo*782tions for immediate effect to be resolved by a rising vote did not conflict with the plain language of § 27, and, in any case, the plaintiffs did not challenge the House rule. Id. at 621. According to the court, an injunction was improper because “[t]he constitutional provisions at issue permit the manner in which they are applied to be determined by adoption of the rules of the House, which [the] plaintiffs concede they do not challenge, and which we do not oversee.” Id. at 622. The Michigan Supreme Court denied the plaintiffs’ application for leave to appeal. Hammel i). Speaker of the House of Representatives (Hammel II), 493 Mich.973, 829 N.W.2d 862 (2013). Thus, Hammel I is the law of Michigan. Contrary to the majority’s assertion, I do not characterize Hammel II “as somehow affirming” Hammel I. Rather, I characterize Hammel II as a denial of leave to appeal, the effect of which leaves Hammel I intact. Michigan Court Rule 7.215(J)(1) provides that published decisions of the Michigan Court of Appeals issued on or after November 1, 1990, are precedentially binding on subsequent panels of the Michigan Court of Appeals. Accordingly, Hammel I is precedent on this issue until or unless it is overruled by the Michigan Supreme Court.
The majority apparently disagrees with the Hammel I decision. According to the majority, the reasoning in Hammel I on this issue of ■ state law “make[s] little sense.” But because “lower federal courts are precluded from .exercising appellate jurisdiction over final state-court judgments,” it is unclear what the majority hopes to be accomplished on remand. Marks v. Tennessee, 554 F.3d 619, 622 (6th Cir.2009) (internal quotation marks omitted). A federal court is bound by a state appellate court’s judgment on a question of state law “absent a strong showing that the state’s highest court would decide the issue differently.” Kirk v. Hanes Corp. of N.C., 16 F.3d 705, 707 (6th Cir.1994) (internal quotation marks.omitted); accord West v. AT &amp; T, 311 U.S. 223, 237, 61 S.Ct. 179, 85 L.Ed. 139 (1940) (explaining that a federal court lacks authority to disregard a state appellate court’s judgment on a question of state law “unless it is convinced ... that the highest court of the state would decide otherwise”). Where, as here, “the highest court has refused to review the lower-court’s decision,” the possibility that it will reach a conclusion contrary to that decision at a later date “remains a matter of conjecture.” West, 311 U.S. at 237-38, 61 S.Ct. 179. Thus, because there does not exist a “strong showing” that the Michigan Supreme Court would reach a contrary conclusion, Hammel I is binding on federal courts, and, consequently, the federal district court has no basis to question the validity of PA 4’s immediate effect on remand.
It is also inappropriate to direct the district court to review whether the rejection by referendum of PA 4 rendered the EM’s past actions void. The Michigan courts have not squarely addressed this issue. The Michigan courts are in a better position to rule on novel questions of Michigan law. Scottsdale Ins. Co. v. Flowers, 513 F.3d 546, 560 (6th Cir.2008). It is especially inappropriate for a federal court to rule on an unanswered question of state law sua sponte. In United States National Bank of Oregon v. Independent Insurance Agents of America, 508 U.S. 439, 446-47, 113 S.Ct. 2173, 124 L.Ed.2d 402, cited by the májority, the United States Supreme Court approved the D.C. Circuit’s sua sponte consideration of an issue of federal law, relying on the Article III federal judicial power, which “extend[s] to all Cases ... arising under ... the Laws of the United States.” Art. Ill, § 2, el. 1. However, the decision does not support a federal court’s.sua sponte consideration of novel questions of state law, as ordered *783here. To my knowledge, the majority’s chosen action is unprecedented.
The issues created by the majority have not been raised, decided, or preserved. The Retired Employees have never (neither below nor on appeal) argued that PA 4 was improperly given immediate effect or its rejection by referendum rendered the EM’s past actions void, thereby forfeiting those issues. Moreover, the Retired Employees expressly waived the latter issue at oral argument.2 Imprudently, my colleagues have departed from our proper judicial role by becoming advocates in their zeal to create controversies that do not exist.
“As a general rule, appellate courts do not consider any issue not passed upon below.” In re Morris, 260 F.3d 654, 663 (6th Cir.2001). Our cases have developed three circumstances that, justify departure from the general rule. Id. at 664. Under the exception relied on by the majority, although not passed upon below, this court may address issues presented with sufficient clarity and requiring no factual development where their resolution would promote the finality of litigation in the case. Id. Issues are presented with sufficient clarity when “extensively briefed” by both parties. United States v. Pickett, 941 F.2d 411, 415 (6th. Cir.1991). Here, the parties never raised the issues (much less extensively briefed them), and the majority concedes that the issues lack the factual development necessary for their resolution. More importantly, the resolution of the issues on remand will not serve the interest of finality, because the district court’s decision will not be preeedentially binding regarding Michigan law. Doe v. Young Marines of the Marine Corps League, 277 Mich.App. 391, 745 N.W.2d 168, 172 (2007) (“We are not bound to follow a federal court’s interpretation of state law[.]”).
The cases relied on by the majority do not involve forfeited or waived issues. See Dandridge v. Williams, 397 U.S. 471, 476 n. 6, 90 S.Ct. 1153, 25 L.Ed.2d 491 (1970); Burkholder v. Int’l Union, United Auto., Aerospace &amp; Agric. Implement Workers of Am., Local No. 12, 299 Fed.Appx. 531, 534 (6th Cir.2008), overruled on other grounds by Chapman v. UAW Local 1005, 670 F.3d 677 (6th Cir.2012); City of Mt. Clemens v. EPA 917 F.2d 908, 916 n. 7 (6th Cir.1990). Rather, in those cases, the preserved issues raised and argued below were simply not addressed by the lower court. In such situation, “[wjhen attention has been focused on other issues, or when the court from which a case comes has expressed no views on a controlling question,” the appellate court may find it appropriate to remand the case for additional factual development and resolution by the lower court. Dandridge, 397 U.S. at 476 n. 6, 90 S.Ct. 1153. But “forfeiture” or “waiver” is not the appropriate term for this occurrence. The majority’s reliance on Dandridge, Burkholder, and Mt. Clemens is therefore misplaced.
In addition to dissenting from the consideration of waived and forfeited issues, I also respectfully dissent from the majority’s order denying the Michigan Attorney General’s motion to intervene. In the rare case when sua sponte consideration on appeal is proper, interested parties should be provided “ample opportunity to address the issue.” Indep. Ins. Agents of Am., 508 U.S. at 448, 113 S.Ct. 2173. My colleagues disregard this principle. Having characterized the state-law issues as important *784and potentially dispositive of the case, the majority paradoxically denies the Attorney General’s request to defend the state’s position with respect to those issues. They do this despite the Attorney General’s statutorily protected right to intervene in any matter in which the people of Michigan may be interested. See Mich. Comp. Laws § 14.28. In my view, allowing intervention on remand provides inadequate recourse to the damage the majority has done already.
III.
Only the federal constitutional issues ruled on below and raised by the parties on appeal are properly before us and therefore should be decided. We review the district court’s denial of injunctive relief for an abuse of discretion. Overstreet v. Lexington-Fayette Urban Cnty. Gov’t, 305 F.3d 566, 573 (6th Cir.2002). We review a district court’s underlying legal conclusions de novo and its factual findings for clear error. Ne. Ohio Coal, for the Homeless v. Husted, 696 F.3d 580, 591 (6th Cir.2012). Our review is “highly deferential,” and we will disturb the district court’s determination “only if the district court relied upon clearly erroneous findings of fact, improperly applied the governing law, or used an erroneous legal standard.” McNeilly v. Land, 684 F.3d 611, 614 (6th Cir.2012) (internal quotation marks omitted).
A district court evaluating a plaintiffs request for injunctive relief considers four factors: (1) the plaintiffs likelihood of success on the merits; (2) whether the plaintiff will suffer irreparable injury without a preliminary injunction; (3) whether issuance of a preliminary injunction would cause substantial harm to others; and (4) whether the public interest would be served by issuance of a preliminary injunction. Id. at 615. “When a party seeks a preliminary injunction on the basis of a potential constitutional violation, ‘the likelihood of success on the merits often will be the determinative factor.’ ” Obama for Am. v. Husted, 697 F.3d 423, 436 (6th Cir.2012) (quoting Jones v. Caruso, 569 F.3d 258, 265 (6th Cir.2009)). The burdens of production and persuasion fall on the plaintiff. McNeilly, 684 F.3d at 615. “[T]he proof required for the plaintiff to obtain a preliminary injunction is much more stringent than the proof required to survive a summary judgment motion”; an injunction is an “extraordinary remedy” available only when the circumstances “clearly demand it.” Leary v. Daeschner, 228 F.3d 729, 739 (6th Cir.2000) (internal quotation marks omitted).
A. Likelihood of Success on the Merits
1. Contracts Clause
The district court determined that the Retired Employees failed to show a likelihood of success on the merits of their Contracts Clause claim. It reached this conclusion because they challenged the EM’s actions, which it determined did not constitute an exercise of a legislative power, making the Contracts Clause inapplicable.’ See New Orleans Waterworks Co. v. La. Sugar Refining Co., 125 U.S. 18, 30, 8 S.Ct. 741, 31 L.Ed. 607 (1888) (“The prohibition [against the impairment of contracts] is aimed at the legislative power of the State, and not at the decisions of its courts,- or the acts of administrative or executive boards or officers, or the doings of corporations or individuals.”); Ross v. Oregon, 227 U.S. 150, 162, 33 S.Ct. 220, 57 L.Ed. 458 (1913). Second, the district court stated that the Retired Employees failed to allege that the state denied them an opportunity to seek recourse through the courts or that the state foreclosed the imposition of an adequate state remedy for an established impairment. See Crosby v. City of Gastonia, 635 F.3d 634, 640 (4th Cir.2011) (“[Recourse to § 1983 for the deprivation of rights secured by the Con*785tracts Clause is limited to the discrete instances where a state has denied a citizen the opportunity to seek adjudication through the courts ... or has foreclosed the imposition of an adequate remedy for an established impairment. Section 1983 provides no basis to complain of an alleged impairment in the first instance”).
The court also indicated that some impairments of contract are constitutional, but this does not appear to be a basis for its conclusion that the Retired Employees’ claim was unlikely to succeed. Nonetheless, this court may affirm based on any reason advanced by the City of Pontiac against the issuance of a preliminary injunction that was presented before the district court. United Food &amp; Commercial Workers Union, Local 1099 v. Sw. Ohio Reg’l Transit Auth., 163 F.3d 341, 349 (6th Cir.1998). Therefore, it is appropriate to consider the City of Pontiac’s claim that the alleged impairment survives constitutional scrutiny.
The Contracts Clause provides that “No state shall ... pass any ... Law impairing the Obligation of Contracts.” U.S. Const, art. I § 10, cl. 1. The prohibition against impairments of contracts, however, is not absolute. Home Bldg. &amp; Loan Ass’n v. Blaisdell, 290 U.S. 398, 428, 54 S.Ct. 231, 78 L.Ed. 413 (1934). A claim under the Contracts Clause requires a showing that: “(1) a contract exists, (2) a change in law impairs that contract, and (3) the impairment is substantial.” Mascio v. Pub. Emps. Ret. Sys. of Ohio, 160 F.3d 310, 313 (6th Cir.1998) (internal quotation marks omitted). Absent such a showing, there is no constitutional violation.
In this case, it is apparent that the EM impaired the contractual rights of at least some retirees who had been guaranteed various healthcare benefits in CBAs. Indeed, if such contractual rights did not exist or had expired, then seemingly, it would have been unnecessary for the EM to utilize his power under PA 4 to modify the CBAs.
Assuming a contractual impairment, the question becomes whether the impairment is substantial. A court assessing whether an impairment is substantial considers “the extent to which reasonable expectations under the contract have been disrupted.” Buffalo Teachers Fed’n v. Tobe, 464 F.3d 362, 368 (2d Cir.2006) (internal quotation marks omitted). In Buffalo Teachers Fed’n, the Second Circuit determined that a wage freeze worked such a disruption to employees’ reasonable expectations to contractually negotiated wage increases that the impairment was substantial. Id. Because this case involves a reduction of benefits, as opposed to a freeze of benefits, 'the "Impairment here very well may be more substantial than in Buffalo Teachers Fed’n. For this reason, and because defendants do not argue otherwise, a substantial impairment can be presumed.
If the impairment is substantial, to survive constitutional scrutiny, the government must have a legitimate public purpose behind the, impairment, and the impairment must be reasonable and necessary to serve that purpose. Energy Reserves Grp., Inc. v. Kan. Power &amp; Light Co., 459 U.S. 400, 411-12, 103 S.Ct. 697, 74 L.Ed.2d 569 (1983); U.S. Trust Co. of N.Y. v. New Jersey, 431 U.S. 1, 25, 97 S.Ct. 1505, 52 L.Ed.2d 92 (1977). “A legitimate public purpose is one aimed at remedying.an important general social or economic problem rather than providing a benefit to special interests.” Buffalo Teachers Fed’n, 464 F.3d at 368 (internal quotation marks omitted). An impairment may be considered reasonable and necessary if: (1) impairing the contract was considered on par with other policy alternatives; (2) a more moderate course would not have served the legitimate public purpose equally well; and *786(3) the impairment was reasonable in light of the surrounding circumstances. Id. at 371..
The City of Pontiac argues that impairing the Retired Employees’ contractual rights was reasonable and necessary to serve a legitimate public purpose. The City of Pontiac relies on Buffalo Teachers Fed’n, where several teachers unions sought to enjoin a wage freeze implemented by the city board pursuant to the Buffalo Fiscal Responsibility Authority Act. Id. at 365-66. Pursuant to the Act, the city board froze the wages of union members, despite contractually negotiated wage increases that had been memorialized in CBAs. Id. at 366. The district court granted the defendants’ motion for. summary judgment, concluding as a matter of law that the wage freeze did not violate the Contracts Clause, and the Second Circuit affirmed. Id. at 367, 376.
The Second Circuit determined that the wage freeze was a reasonable and necessary means of addressing the city’s fiscal crisis. Id. at 368-71. First, the wage freeze was implemented “only after other alternatives had been considered and tried,” including a hiring freeze and school closings and layoffs. Id. at 371. Second, a temporary wage freeze was moderate relative to the more drastic measure of eliminating more municipal jobs and closing more schools. Id. As a further indication of reasonableness, the court considered the temporary and prospective nature of the wage freeze. Id. at 372. Finally, although the unions argued that the existence of alternatives made the wage freeze unnecessary, the court declined “to second-guess the wisdom of picking the wage freeze over other policy alternatives, especially those that appear more Draconian, such as further layoffs or elimination of essential services.” Id. Accordingly, the impairment survived constitutional scrutiny. Id.
Likewise, the EM’s efforts to address the City of Pontiac’s impending insolvency serve a legitimate public purpose. See Buffalo Teachers Fed’n, 464 F.3d at 368 (stating that addressing a city’s financial problems is a legitimate public purpose); see also Sanitation &amp; Recycling Indus., Inc. v. City of New York, 107 F.3d 985, 993 (2d Cir.1997) (explaining that a legitimate public purpose is one aimed at remedying an important and general social or economic problem). Further, the modifications to the CBAs were implemented only after the City of Pontiac took other drastic steps To reduce its budgetary problems, including elimination of the police department, emergency dispatch services, animal control services, the vital records department, the fire department, and the near elimination of the department of public works. Because retiree healthcare is the City of Pontiac’s largest expense, reducing (but not eliminating) healthcare benefits for retirees appears to be the most effective means to improve its financial troubles. It is improper to second-guess the wisdom of the EM’s choice to modify retirees’ healthcare benefits over other alternatives such as the elimination of further public services. The modifications thus appear reasonable ánd necessary. Most significantly, the Retired Employees, who have the burden of showing entitlement to injunctive relief, have made absolutely no argument to the contrary.
The Retired Employees filed two letters and notices of supplemental authority, but they still fail to explain how the EM’s orders were either unreasonable or unnecessary. In Yurk v. City of Flint, No. 01-71149-NZ (Genesee Cnty. Cir. Ct. Dec. 11, 2012), the plaintiffs sought to enjoin the implementation of Order No. 13, which modified the terms of a settlement agreement issued by Flint’s emergency manager pursuant to PA 4.3 Critically, the court *787reasoned that Order No. 13 was not “necessary” to save the local government from bankruptcy because a more moderate course would have served its public purpose just as well — rather than require the plaintiffs to advance a $100 co-payment for name-brand drugs and seek a refund after the fact by jumping through certain hoops, a more moderate course would have been to require the plaintiffs to pay the $100 co-payment only after they failed to jump through those same hoops. Id. at 8. Unlike the plaintiffs in Yurk, the Retired Employees have not advanced a more moderate course.
The Retired Employees also point to Providence Retired Police &amp; Firefighter’s Ass’n v. City of Providence, 2012 R.I.Super. LEXIS 23 (R.I.Super.Ct. Jan. 30, 2012), a case involving the constitutionality of an ordinance requiring retirees to enroll in Medicare as a condition of receiving healthcare benefits, contrary to the terms of their CBAs. Granting the retirees’ motion for a preliminary injunction, the court found two indications that the ordinance was unreasonable: (1) Providence was aware of its chronic financial problems when it continuously entered into CBAs guaranteeing healthcare benefits; and (2) the transfer to Medicare was intended to be permanent. Id. at *52,' 56. Many of the CBAs at issue here, however,’ were entered into long before the City of Pontiac could have anticipated the economic crisis that has set in over the last several years, and it is unclear whether shifting healthcare costs onto retirees is intended to be permanent.
Lastly, the Retired Employees call our attention to Welch v. Brown, No. 12-13808, — F.3d -, 2013 WL 1292373 (E.D.Mich. Mar. 29, 2013), where the plaintiffs argued that the reduction of their healthcare benefits was unreasonable and unnecessary, and they suggested more moderate alternatives that would achieve the defendants’ stated legitimate public purpose. In this case, however, the- Retired Employees have not argued that the reduction of- their benefits was unreasonable and unnecessary, and they have not suggested a more moderate course that would address the City of Pontiac’s fiscal crisis.
Moreover, in all of the above cases (Yurk, Providence Retired Police &amp; Firefighter’s Ass’n, and Welch), the court ruled on a request for injunctive relief in the first instance. Our judgment as an appellate court is confined by the standard of review. We can reverse only when we are convinced that the district court abused its discretion. That a court could reasonably grant a preliminary injunction in the first instance does not make the district court’s decision in this case an abuse of discretion. Albeit for different reasons than relied, on below, I would conclude that the district court acted within its discretion when it concluded that the Retired Employees failed to show a likelihood of success on the merits of their Contracts Clause .claim. This factor weighs in favor of the City of Pontiac.
2. Federal Preemption
The Retired Employees next allege that the EM’s orders are preempted by the Bankruptcy Code, 11 U.S.C. § 903(1), which provides that “a State law prescribing a method of composition [i.e., reduction] of indebtedness of [a] municipality may not bind any creditor that does not consent to such composition.” Although the Retired Employees certainly did not consent to the reduction of their healthcare benefits, they fail to offer authority supporting their contention that PA 4 pre*788scribes a “method of composition,” and the only authority on point that has been brought to this court’s attention- suggests the contrary. See Subway-Surface Supervisors Ass’n v. New York City Transit Auth., 44 N.Y.2d 101, 404 N.Y.S.2d 323, 375 N.E.2d 384, 391 (1978) (holding that.a wage freeze in violation of a CBA made pursuant to the Financial Emergency». Act for the City of New York did not constitute “composition” and, thus, was not preempted by federal bankruptcy law).
This is not a bankruptcy proceeding, and the EM’s orders do not purport to discharge any incurred debt. Rather, the EM’s orders modify the terms of CBAs, a measure that appears to be an effort to eliminate the incurrence of additional debt. Further, the Supreme Court “has sustained provisions arguably affecting the bankruptcy power where the state laws were not directly in conflict with the Bankruptcy Act” and has “stress[ed] that the federal municipal Bankruptcy Act is not in any way intended to infringe on the sovereign power of a state to control its political subdivisions.” Ropico, Inc. v. City of New York, 425 F.Supp. 970, 983 (S.D.N.Y.1976). Because the Retired Employees’ preemption arguments are not well supported, a likelihood of success on the merits at this stage has not been established, and this factor weighs in favor of the City of Pontiac.
3. Due Process
Third, the district court determined that the Retired Employees were unlikely to succeed on the merits of their due process claims. To establish a procedural due process claim, a plaintiff must demonstrate that he or she has been deprived of a protected property interest without adequate process. Women’s Med. Prof'l Corp. v. Baird, 438 F.3d 595, 611 (6th Cir.2006). “A contract, such as a collective bargaining agreement, may create a property interest.” Leary, 228 F.3d at 741. Yet it is unclear whether there can be a property interest in lifetime, unchanging healthcare benefits. See Bell v. Westmoreland Cent. Sch. Dist., No. 87-CV-1592, 1991 WL 33161, *3 (N.D.N.Y. Mar. 11,1991) (stating that “a constitutionally protected property interest in the continuation of post-retirement health insurance benefits does not exist”); cf. Lawrence v. Town of Irondequoit, 246 F.Supp.2d 150, 158 (W.D.N.Y.2002) (finding no constitutionally protected property interest where the plaintiffs continued to receive retirement benefits but at a different level).
Further, having reviewed the excerpts of CBAs provided by the Retired Employees, as the district court observed, there is no provision forever entitling retirees to the exact same healthcare benefits. Indeed, such a guarantee would be impractical; as the City of Pontiac asserts, “the insurance provided ten years ago is not even commercially available.” Additionally, in the context of an ERISA claim, this court has stated that “[i]f a welfare benefit has not vested, after a CBA expires, an employer generally is free to modify or terminate any retiree medical benefits that the employer provided pursuant to that CBA.” Yolton v. El Paso Tenn. Pipeline Co., 435 F.3d 571, 578 (6th Cir.2006) (internal quotation marks omitted). Because we have not been provided with the CBAs in their, entirety, it is difficult to discern the intent of the contracting parties and whether healthcare benefits were guaranteed indefinitely or were instead subject to change. Accordingly, the Retired Employees have failed to carry their burden to demonstrate a likelihood of success on the merits of their due process claim, which tends to weigh in favor of the City of Pontiac.
B. Irreparable Harm
Turning to the next factor in the preliminary injunction analysis, the district court *789determined that the Retired Employees failed to .show that they would suffer irreparable harm if an injunction were not granted. One way to show irreparable harm is by demonstrating a constitutional violation. See Overstreet, 305 F.3d at 578. As explained in detail above, however, the Retired Employees have not shown a reasonable likelihood that their constitutional rights have been violated, a conclusion which tends to weigh against a finding of irreparable harm.
The other source of irreparable harm asserted in "this case is the reduction of retiree healthcare benefits. The district court’s analysis of this argument is very limited. Although acknowledging that the EM’s orders reduce the Retired Employees’ healthcare benefits and force them to pay more out-of-pocket expenses (or fore-go medical treatment), the court did not consider the harm to be irreparable given that their benefits were not being eliminated entirely. The district court’s reasoning is not compelling and overlooks the threat to the Retired Employees’ health and safety caused by even a reduction in coverage. A reduction in healthcare benefits is a recognized source of irreparable harm for purposes of a preliminary injunction. See Golden v. Kelsey-Hayes Co., 845 F.Supp. 410, 415 (E.D.Mich.1994) (stating that “reductions in retiree insurance coverage constitute irreparable harm”); Hinckley v. Kelsey-Hayes Co., 866 F.Supp. 1034, 1044 (E.D.Mich.1994) (same). With this in mind, but taking into account that a constitutional violation is unlikely, this factor weighs slightly in favor of the Retired Employees.
C. Balance of Equities and Public Interest
Nonetheless, the harm to the Retired Employees must be balanced against the threatened harm to others, and consideration must also be given to' the public interest. The district court concluded that issuing an injunction would likely cause the City of Pontiac’s financial troubles to continue, which would likely result in a complete elimination of healthcare benefits for the Retired Employees, further layoffs, and fewer public services being provided for .the benefit of all residents. Given the drastic measures that the City of Pontiac has already taken to address its fiscal crisis, I cannot disagree with the district court’s forecast: These factors thus weigh against the Retired Employees. Balancing the four factors together, and given the highly deferential standard of review, I would hold that the district court did not abuse its discretion when it denied the extraordinary remedy of injunctive relief.
IV.
In my view, the majority improperly remands the case to the district court to address uncontested issues of state law. Instead, I would address the federal constitutional issues raised on appeal and affirm the district court’s judgment denying the Retired Employees’ request for injunc-tive relief. In addition, I would grant the Attorney General’s motion to intervene. For these reasons, I respectfully dissent.

. The majority is correct that, before 1963, the'Michigan courts would scrutinize whether the legislature properly passed a bill with immediate effect. At the time, the state constitution limited the availability of immediate effect to "acts immediately necessary for the preservation of the public peace, health or safety,” Mich. Const.1908, art. 5, § 21„ and courts would review the legislative determination of public necessity, see Attorney General ex rel. Barbour v. Lindsay, 178 Mich. 524, 145 N.W. 98, 103 (1914). The Michigan Constitution no longer imposes a public necessity requirement. See Mich. Const.1963, art. 4, § 271


. Courts frequently .confuse the concepts of "waiver” and "forfeiture.” Waiver is the intentional relinquishment or abandonment of a known right, whereas forfeiture is the failure to make the timely assertion of a right. United States v. Olano, 507 U.S. 725, 733, 113 S.Ct. 1770, 123 L.Ed.2d 508 (1993). Here, there was an express waiver regarding one of the issues and a forfeiture of the other.


. Incidentally, Flint's emergency manager issued Order No. 13 during PA 4's operative *787life. Therefore, the court reasoned, "the referendum defeat of 2011 PA 4 has not rendered Order No. 13 invalid or moot.” Id. at 3.

